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13                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                 WESTERN DIVISION
15
     JOHN KLENE, et al.,                     Case No.: 2:22-cv-08318 DSF (JCx)
16

17                           Plaintiffs,     United States Magistrate Judge
18          vs.                              Jacqueline Chooljian
19   DORAL RIGGS, et al.,                    PLAINTIFFS JOHN KLENE AND
20                                           EDUARDO DUMBRIQUE’S
                             Defendants.     OPPOSITION TO THIRD PARTY
21
                                             SANTO SALAZAR ALVAREZ’S
22                                           MOTION TO QUASH
                                             DEPOSITION SUBPOENA
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28                OPPOSITION TO MOTION TO QUASH DEPOSITION SUBPOENA
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1            I.    Introduction
2          Plaintiffs John Klene and Eduardo Dumbrique oppose Third Party Santo
3    Salazar Alvarez’s Motion to Quash Plaintiffs’ Deposition Subpoena. Plaintiffs’
4    subpoena was properly served and there is no basis to quash. However, a personal
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     medical emergency has made it impossible for counsel for one of the Defendants to
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     cover the deposition, and all parties have agreed to temporarily remove Mr.
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     Alvarez’s deposition from the calendar until a new date may be confirmed.
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     Therefore, Plaintiffs respectively move that this Court deny the Motion to Quash
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     and instead compel Mr. Alvarez to confer with Plaintiffs to set a new date and to
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     appear at that date and time. In the alternative, should legal representation not
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     currently be available to Mr. Alvarez, and the Court determine that it would serve
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     the interests of justice to appoint representation for the purposes of this deposition,
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     Plaintiffs request that the Court appoint representation for Mr. Alvarez and set a
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     status conference to ensure the deposition moves forward. In either case, the
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     Motion to Quash must be denied.
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            II.    Relevant Background

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           Plaintiffs John Klene and Eduardo Dumbrique were wrongfully convicted of

19   a crime they did not commit, the 1997 murder of Antonio Alarcon, and each spent
20   more than 23 years wrongfully incarcerated. Complaint, ECF No. 1 (“Compl.”) ¶
21   1. In 2021, a thorough reinvestigation by the Los Angeles District Attorney’s
22   Office (LADA) led that office to conclude that the evidence supporting Plaintiffs’
23   convictions was unreliable and Plaintiffs had established their factual innocence.
24   Id. at ¶ 2. The Superior Court of California vacated the murder charges and
25   dismissed the charges against both Plaintiffs in the same year. Id. at ¶ 123.
26         LADA found in its reinvestigation that the two key pieces of evidence in the
27   case against Plaintiffs were unreliable. Id. at ¶ 122. One of these was the statement
28   of Mr. Alvarez. Id. In 1997, Mr. Alvarez was an affiliate of Chad Landrum, the

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1    true perpetrator of the murder of Antonio Alarcon. Id. at ¶ 41. Three days after the
2    murder, on July 1, 1997, Mr. Alvarez was arrested on drug- and weapons-related
3    charges. Id. at ¶¶ 40, 42. That day, Defendant Doral Riggs, then a detective with
4    the Los Angeles Sheriff’s Department, interviewed Mr. Alvarez about the Alarcon
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     murder. Id. at ¶ 43. In that interview, Mr. Alvarez provided a facially improbable
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     statement to police incriminating Plaintiffs in the murder and stated that he was
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     attempting to talk his way out of jail. Id. at ¶¶ 44-50. At Plaintiffs’ criminal trial,
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     however, Mr. Alvarez denied any recollection of relevant knowledge implicating
9
     them in the murder. Id. at ¶ 112. In its reinvestigation, LADA determined that the
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     statement Mr. Alvarez provided to Defendant Riggs was untrustworthy and could
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     not have been presented in good faith in support of a prosecution. Id. at ¶ 122.
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13         III.    The Motion to Quash Must Be Denied and Mr. Alvarez
                   Compelled to Confer with Plaintiffs and Appear at his Deposition
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           Plaintiffs brought this civil rights lawsuit to hold Defendants accountable for
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     fabricating and suppressing evidence, leading directly to their wrongful
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     convictions and incarceration. Mr. Alvarez is a central witness in this case, as his
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     prior false statement was an essential component of the case against Plaintiffs.
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     Moreover, there is no basis on which to quash the subpoena against Mr. Alvarez.
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     The subpoena was properly served, and Mr. Alvarez does not dispute its service.
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     The date for the deposition was set for September 28, 2023, and Plaintiffs will

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     work with Mr. Alvarez to set a mutually agreeable date for the deposition. As set

23   forth in the accompanying declarations of Plaintiffs’ counsel Deirdre O’Connor
24   and Matthew Christiana, there were no threats made against Mr. Alvarez and any
25   documentation of the service of the subpoena was made for that purpose alone. See
26   Ex. 1, Decl. of Deirdre O’Connor, Ex. 2, Decl. of Matthew Christiana.
27         As described, Mr. Alvarez is a key witness with highly relevant information,
28   and Plaintiffs are therefore entitled to subpoena his deposition. “Where a non-party

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1    possesses potentially relevant information, the party seeking discovery may obtain
2    a subpoena for the evidence pursuant to Rule 45.” Roberts v. Cnty. of Riverside,
3    No. 519CV01877JGBSHK, 2021 WL 5993528, at *6 (C.D. Cal. Oct. 7, 2021)
4    (quoting Amini Innovation Corp. v. McFerran Home Furnishings, Inc., 300 F.R.D.
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     406, 409 (C.D. Cal. 2014)) (internal quotation marks omitted). As the party
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     challenging the subpoena, Mr. Alvarez bears the burden of demonstrating that
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     “specific prejudice or harm will result if no protective order is granted” Roberts,
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     2021 WL 5993528, at *7 (quoting In re Transpacific Passenger Air Transportation
9
     Antitrust Litig., No. C-07-05634 CRB (DMR), 2014 WL 939287, at *1 (N.D. Cal.
10
     Mar. 6, 2014)) (internal quotation marks omitted). Mr. Alvarez has not alleged any
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     specific harms that will occur if Plaintiffs are allowed to proceed with his
12
     deposition, and cannot, as Plaintiffs seek simply to obtain his sworn testimony.
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           Plaintiffs are cognizant, as the party seeking discovery, of their obligation to
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     “take reasonable steps to avoid imposing undue burden or expense on a person
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     subject to the subpoena.” Roberts, 2021 WL 5993528, at *6 (quoting Fed. R. Civ.
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     P. 45). Plaintiffs are willing to take reasonable steps to accommodate Mr. Alvarez

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     if a different date or location would address his concerns. Plaintiffs attempted to

19   communicate as much to Mr. Alvarez, but were unsuccessful in that effort. As
20   discussed more fully below, should the Court determine that it is in the interests of
21   justice to appoint an attorney to represent Mr. Alvarez for the purpose of this
22   deposition, Plaintiffs believe that might facilitate this process. In either case,
23   however, Mr. Alvarez has not, and cannot, demonstrate good cause for the Court to
24   grant his Motion to Quash. Therefore, Plaintiffs request that the Court compel Mr.
25   Alvarez to confer with Plaintiffs to set a new date for his deposition and to appear
26   at that deposition once scheduled.
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1          IV.    In the Alternative, the Court May Appoint Counsel in the
                  Interests of Justice
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           Mr. Alvarez must be compelled to appear for his deposition. However, if he
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     is not represented by counsel, and counsel is unavailable to him, Plaintiffs believe
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     that all parties would be served by the Court appointing counsel for Mr. Alvarez.
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     When Plaintiffs’ attorney served Mr. Alvarez with the deposition subpoena, he
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     asserted that he was represented by counsel. Counsel for Plaintiffs attempted to
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     contact Mr. Alvarez’s purported counsel, but were unable to locate anyone
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9
     representing him. Given that Mr. Alvarez filed his Motion to Quash Subpoena pro

10
     se, it appears that he does not currently have counsel.

11         Testifying concerning the events underlying Plaintiffs’ wrongful convictions
12   presents possible exposure to criminal liability for Mr. Alvarez. As detailed above,
13   Mr. Alvarez was an associate of Landrum, the true perpetrator of the murder of
14   Alarcon. Moreover, Mr. Alvarez has previously admitted to participating in a
15   separate murder with Landrum only three weeks after the murder of Alarcon.
16   There is reason to believe Mr. Alvarez himself may have been involved in the
17   Alarcon murder that he falsely accused Plaintiffs of committing. Furthermore,
18   given interactions with him to date, Plaintiffs believe it would facilitate the process
19   if Mr. Alvarez had counsel to explain his legal obligations.
20         Plaintiffs therefore respectfully suggest the Court confirm Mr. Alvarez has
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     counsel. If he does not, the Court may be aware of other mechanisms for
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     appointing counsel for a witness, but Plaintiffs believe it may be possible to do so
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     pursuant to the Criminal Justice Act (“CJA”). The CJA provides that the Court has
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     discretion to appoint counsel for certain financially eligible individuals
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     “[w]henever the United States magistrate judge or the court the court determines
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     that the interests of justice so require . . . .” 18 U.S.C. § 3006A(a)(2). The CJA
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     Plan laid out by this district provides that the Court has authority to provide
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1    representation for any financially eligible person who “has been called as a witness
2    before . . . a court . . . which had the power to compel testimony, and there is
3    reason to believe, either prior to or during testimony, that the witness could be
4    subject to a criminal prosecution, a civil or criminal contempt proceeding, or face
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     loss of liberty . . . .” C.D. Cal. General Order No. 13-09, Criminal Justice Act Plan,
6
     at ¶ IV (A)(2)(d) (https://www.cacd.uscourts.gov/sites/default/files/general-
7
     orders/GO-13-09.pdf) (Sept. 10, 2013); see also, United States Courts, Guide To
8
     Judiciary Policy, Guidelines for Administering the Criminal Justice Act and
9
     Related Statutes, Vol. 7A, Ch. 2, at § 210.20.20(c)
10
     (https://www.uscourts.gov/rules-policies/judiciary-policies/cja-guidelines/chapter-
11
     2-ss-210-representation-under-cja#a210_20) (last visited Sept. 27, 2023) (“Upon
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     application of a witness before a grand jury, a court, the Congress, or a federal
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     agency or commission which has the power to compel testimony, counsel may be
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     appointed where there is reason to believe, either prior to or during testimony, that
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     the witness could be subject to a criminal prosecution, a civil or criminal contempt
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     proceeding, or face loss of liberty.”).

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             Presuming that Mr. Alvarez is financially eligible and that he does not

19   otherwise have counsel representing him, the interests of justice would be served
20   by appointing counsel to represent him for the purposes of his deposition in this
21   case.
22           V.    Conclusion
23           Plaintiffs request that the Court deny the Motion to Quash and order Mr.
24   Alvarez to confer with Plaintiffs to schedule a new date for his deposition, and that
25   the deposition go forward. Additionally, Plaintiffs respectfully request that should
26   the Court appoint counsel for Mr. Alvarez, the Court also set a status conference
27   for the parties in 30 days time so the parties may confirm a new date for Mr.
28   Alvarez’s deposition has been set.

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1                                        Respectfully submitted,
2    Dated: September 27, 2023           NEUFELD SCHECK & BRUSTIN LLP
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26                                       Eduardo Dumbrique
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1
                                   PROOF OF SERVICE
2

3          I, Anna Benvenutti-Hoffmann, declare as follows:
4
           At the time of service, I was over the age of 18 years and not a party to this
5    action. My business address is 99 Hudson Street, 8th Floor, New York, New York
     10013.
6

7        On September 27, 2023, I served the foregoing OPPOSITION TO THIRD
8    PARTY SANTO SALAZAR ALVAREZ’S MOTION TO QUASH DEPOSITION
     SUBPOENA on the interested parties in this action via ECF:
9

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22   Attorney for Defendant
     Marcella Winn
23

24
          I declare under penalty of perjury under the laws of the United States of
25
     America and State of New York that the foregoing is true and correct.
26
     Executed on September, 2023.
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1                                             /s/ Anna Benvenutti-Hoffmann
                                              Anna Benvenutti-Hoffmann
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